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 1   JERRY Y. FONG, ESQ. (SBN 99673)
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 5   Attorneys for Defendant,
     SUSAN K. POWELL
 6
 7
 8                              UNITED STATES DISTRICT COURT
 9                            NORTHER DISTRICT OF CALIFORNIA
10                                      SAN JOSE DIVISION
11   UNITED STATES OF AMERICA,                 |       CASE NO.       CR-04-20179 JF
                                               |
12                        Plaintiff,           |       STIPULATION TO CONTINUE
                                               |       STATUS CONFERENCE AND
13                                             |       [proposed] ORDER THEREON
            vs.                                |
14                                             |
     SUSAN K. POWELL and                       |
15   MICHAEL J. JOHNSTON,                      |
                                               |
16                        Defendants.          |
                                               |
17
18          IT IS HEREBY STIPULATED, by and between attorneys for Defendant SUSAN K.
19   POWELL and the UNITED STATES OF AMERICA, that the disposition hearing currently
20   scheduled for October 4, 2006, be continued until November 15, 2006, at 9:00 am., in order
21   to work out the final terms of the plea agreement, and that counsel for SUSAN K. POWELL
22   has a federal criminal trial set for October 10, 2006, which is scheduled for 14 days.
23          The parties further agree that time should be excluded under the Speedy Trial Act
24   until the next hearing of this matter, that the ends of justice outweigh the Defendants’ and
25   the public’s need for a speedy trial.
26          IT IS SO STIPULATED.
27   ///
28


                                                    1
                          STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
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 1   DATED: September 28, 2006                  CAREY & CAREY
 2
 3                                                         /s/
                                                JERRY Y. FONG, Attorneys for
 4                                              Defendant SUSAN K. POWELL
 5
 6
 7   DATED:                        , 2006       __________/S/____________________
                                                PAUL MELTZER, Attorneys for
 8                                              Defendant MICHAEL J. JOHNSTON
 9
10
11   DATED:                        , 2006       UNITED STATES OF AMERICA,
12
13
                                                              /S/
14                                              JEFFREY D. NEDROW,
                                                Assistant U.S. Attorney
15
16
17                                              ORDER
18         GOOD CAUSE APPEARING THEREFORE, and upon stipulation of the parties, it
19   is hereby ordered, adjudged, and decreed that the disposition hearing presently set for
20   October 4, 2006, be continued until November 15, 2006, at 9:00 a.m.
21         Pursuant to the parties’ stipulation, it is further ordered that the period of time from
22   October 4, 2006 to November 15, 2006, shall be excluded from the period of time within
23   which trial must commence under the Speedy Trial Act, 18 U.S.C. §3161 et seq.
24
25   DATED:      10/4/06           , 2006
26
                                                UNITED STATES DISTRICT COURT JUDGE
27                                               Jeremy Fogel

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                                                     2
                           STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
